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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DANIEL JOSEPH ARIAS, Case No.: 5:20-cv-01345-PVC
Plaintiff, ORDER AWARDING EQUAL
ACCESS TO JUSTICE ACT
VS. ATTORNEY FEES AND EXPENSES
PURSUANT TO 28 U.S.C. § 2412(d)
ANDREW SAUL, AND COSTS PURSUANT TO 28
Commissioner of Social Security, U.S.C. § 1920
Defendant

 

 

 

Based upon the parties’ Stipulation for the Award and Payment of Equal
Access to Justice Act Fees, Costs, and Expenses:

IT IS ORDERED that fees and expenses in the amount of $950.00 as
authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be

awarded subject to the terms of the Stipulation.

DATE: January 11, 2021 ;
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HON. PEDRO V. CASTILLO
UNITED STATES MAGISTRATE JUDGE

 
